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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION



 Amos Joseph Wells, III,                       §
 Petitioner                                    §
                                               §
 v.                                            §        Case Number 4:21-CV-1384-0
                                               §
 Bobby Lumpkin, Director, Texas                §
 Department of Criminal Justice,               §
 Correctional Institutions Division,           §
 Respondent


                  PETITIONER’S MOTION TO SUBSTITUTE COUNSEL

         Petitioner Amos Wells submits this Motion to Substitute Counsel pursuant to the Court’s

August 9, 2022 Order (ECF No. 26). Communication and trust between Mr. Wells and his

appointed counsel has broken down. As a result, Mr. Wells has, as expeditiously as possible,

retained experienced new counsel to handle his habeas corpus petition pro bono. Mr. Wells seeks

no extension of time to file the petition. Respondent has indicated to undersigned counsel that it

takes no position on this motion if Mr. Wells’ proposed new counsel “is qualified under [18 U.S.C.

§] 3599(c) and the motion to [substitute counsel] contains assurances that no delays or extensions

will be sought on the basis of the substitution.”

                                        BACKGROUND

         On November 3, 2016, a jury convicted Mr. Wells of capital murder. On December 15,

2021, the Texas Court of Criminal Appeals denied Mr. Wells’ application for state habeas corpus

relief. Ex parte Wells, WR-86-184-01, 2021 WL 5917724 (Tex. Crim. App. Dec. 15, 2021). On

December 29, 2021, the Federal Public Defender’s office filed a motion recommending and

requesting the appointment of Gwendolyn Payton and Adam Charnes of the Kilpatrick Stockton

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law firm to represent Mr. Wells in his federal habeas corpus proceedings. (ECF No. 1.) The

Federal Public Defender’s office was unable to represent Mr. Wells because the office was “at its

case capacity.” (Id. at ¶ 9.) The Court denied the appointment of Ms. Payton and Mr. Charnes.

(ECF No. 4.) Instead, the Court appointed Georgette Oden and Leigh Davis (“Appointed

Counsel”). (Id.) Appointed Counsel entered notices of appearance in early February 2022. (ECF

Nos. 10, 11.)

       Three months later, Mr. Wells filed a pro se notice to the Court entitled “Issues

Surrounding Appointed Counsel.” (ECF No. 17.) Mr. Wells informed the Court that Appointed

Counsel had “made no attempt to communicate with [him] in person,” and expressed concern

about his Appointed Counsel’s prior statements supporting capital punishment. (Id. at 1-2.) Mr.

Wells was concerned that Appointed Counsel’s viewpoints could “severely handicap[] [his]

Federal Habeas proceedings.” (Id. at 2.) Because Mr. Wells had filed these papers pro se, the

Court struck the filings. (ECF No. 18 at 1.) The Court noted that Appointed Counsel “would be

well advised to make arrangements for a personal meeting with Wells at their earliest

convenience.” (Id. at 3.) In response, Ms. Oden and Mr. Davis filed an under-seal submission

with the Court. (ECF No. 19-1 at 1-2.) The contents of this under-seal submission from his own

attorneys made Mr. Wells even more concerned that Appointed Counsel could not provide him

effective representation. 1

       Mr. Wells, on his own initiative, sought assistance to identify new counsel willing to devote

appropriate resources to his petition. Mr. Wells was ultimately connected with William Harris and

Cooley LLP. Mr. Wells has now chosen to engage these new counsel to represent him in this



1Because this filing in under seal, Mr. Wells cannot describe the particular contents that concerned
him. If necessary and appropriate, Mr. Wells can file an under-seal submission detailing the
portions of the sealed filing that caused him additional concern.
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matter. Mr. Harris filed his notice of appearance and the attorneys from Cooley filed motions to

appear pro hac vice on August 1, 2022, within a week of being engaged. (ECF No. 20-22.)

Appointed Counsel filed their motion to withdraw as Mr. Wells’ counsel on August 4, 2022. (ECF

No. 23.) The Director filed a response to the withdrawal motion on August 5, 2022, asserting in

part that the Court should only allow withdrawal of Appointed Counsel if “Wells is not permitted

to delay this case or the filing of his petition.” (ECF No. 25.) On August 9, 2022, the Court issued

an order granting the Cooley attorneys’ Motions for Leave to appear Pro Hac Vice, denying

Appointed Counsels’ motion for withdrawal, and recommending that new counsel file a motion to

substitute counsel. (ECF No. 26.)

                                           ARGUMENT

       “[T]he Sixth Amendment guarantees the defendant the right to be represented by an

otherwise qualified attorney whom that defendant can afford to hire, or who is willing to represent

the defendant even though he is without funds.” United States v. Sanchez Guerrero, 546 F.3d 328,

332 (5th Cir. 2008) (quoting United States v. Gonzalez-Lopez, 548 U.S. 140, 144 (2006)

and Caplin & Drysdale, Chartered v. United States, 491 U.S. 617, 624–25 (1989)). Further, there

“is a presumption in favor of a defendant’s counsel of choice,” which should only “be overcome

by an actual conflict of interest, or by a showing of a serious potential for conflict.” United States

v. Gharbi, 510 F.3d 550, 553 (5th Cir. 2007).

       Under federal law, the Court can replace appointed counsel with “similarly qualified

counsel,” 18 U.S.C. § 3599(e), and the Court can, for good cause, “appoint another attorney whose

background, knowledge, or experience would otherwise enable him or her to properly represent

the defendant,” 18 U.S.C. § 3599(d). Consistent with this, the CJA Plan for the Northern District

of Texas provides that a “presiding judge may appoint an attorney [from] . . . other private, non-

profit organization to represent a person . . . seeking f ederal death penalty habeas corpus relief
                                                  3
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provided that the attorney is         fully qualified.”      CJA Plan at 20 (available at

https://www.txnd.uscourts.gov/sites/default/files/orders/misc/MiscOrder3Criminal.pdf).2          In

interpreting 18 U.S.C. § 3599(e), the Supreme Court has explained that “a motion for substitution

should be granted when it is in the ‘interests of justice.’” Christeson v. Roper, 574 U.S. 373, 377

(2015) (quotation omitted). Making this determination is a “particularly context-specific inquiry.”

See Martel v. Clair, 565 U.S. 648, 660–61 (2012). Relevant factors may include: “the timeliness

of the motion; the adequacy of the district court’s inquiry into the defendant’s complaint; and the

asserted cause for that complaint, including the extent of the conflict or breakdown in

communication between lawyer and client (and the client’s own responsibility, if any, for that

conflict).” Mendoza v. Stephens, 783 F.3d 203, 208 (5th Cir. 2015) (citing Martel). Mr. Wells

meets this standard.

       First, Mr. Wells’ reasons for securing new counsel are sufficient. As described above,

Appointed Counsel did not communicate frequently, and never in person, with Mr. Wells for

several months.    After Mr. Wells attempted to alert the Court about the breakdown in

communication, Appointed Counsel made an under-seal filing that further troubled Mr. Wells. At

a minimum, the attorney-client relationship between Mr. Wells and his Appointed Counsel is

broken to an extent that is sufficient to justify the appointment of new counsel.

       In Martel v. Clair, the Supreme Court recognized that a breakdown in the attorney -client

relationship may be sufficient justification for substituting counsel. Martel, 565 U.S. 660–61.

There, the Supreme Court expressly rejected the State’s argument that a qualified attorney could

continue to represent the petitioner, “even if the attorney-client relationship has broken down,”



2 The CJA Plan also provides that the court may consider out-of-district counsel who “possess the
requisite expertise” for federal habeas cases “to achieve cost and other efficiencies together with
high quality representation.” CJA Plan at 25.
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because such an approach “undermines Congress’s efforts in § 3599 to enhance representation in

capital cases.” Id. Here, the breakdown and lack of trust and confidence are so severe that

substitution is warranted.

       Second, Mr. Wells acted expeditiously, on his own initiative, to locate and secure new

counsel as soon as he felt that communication and trust had broken down with his Appointed

Counsel. New counsel was engaged at the end of July, five months before the deadline for Mr.

Well’s petition. Mr. Wells has acted as diligently and quicky as he possibly could from inside his

prison cell. See, e.g., Christeson, 574 U.S. at 380 (“Christeson’s first substitution motion, while

undoubtedly delayed, was not abusive” because it was “filed approximately a month after outside

counsel became aware of Christeson’s plight.”). Timeliness is not dispositive, but here it weighs

in favor of substitution. See, e.g., Battaglia v. Stephens, 824 F.3d 470, 475 (5th Cir. 2016)

(reversing district court and finding substitution to be in interest of justice, despite motion being

filed mere days before the scheduled execution).

       Third, Mr. Wells’ proposed new counsel are highly qualified to represent him in this capital

habeas appeal, and their representation presents no conflicts. William Harris is a respected member

of the Texas bar, and has decades of experience practicing in the Northern District of Texas and

the Fifth Circuit, qualifying him under 18 U.S.C. § 3599(c). He earned his law degree from the

University of Texas in 1976 and has been a member of the Texas Bar and adm itted in this Court

and in the Fifth Circuit since then. Mr. Harris served as an Assistant District Attorney for five

years at the beginning of his career, and he has practiced criminal defense for over thirty years.

He is a past president of the Tarrant County Criminal Defense Lawyers and Texas Criminal

Defense Lawyers Associations. Mr. Harris has been certified as a criminal law specialist by the

Texas Board of Legal Specialization since 1988. He has handled federal habeas petitions in Fabian

Hernandez v. Lorie Davis, 750 F. App’x 378 (5th Cir. 2018); Newbury v. Stephens, 756 F.3d 850
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(5th Cir. 2014); Moore v. Quarterman, 517 F.3d 781 (5th Cir. 2008); Hankins v. Quarterman, 288

F. App’x 952 (5th Cir. 2008); Perkins v. Quarterman, 254 F. App’x 366 (5th Cir. 2007); Jones v.

Johnson, No. 99-10169, 2000 WL 423438 (5th Cir. Apr. 7, 2000); Soria v. Johnson, 207 F.3d 232

(5th Cir. 2000); and Robison v. Johnson, 151 F.3d 256 (5th Cir. 1998). Mr. Harris is more than

qualified to represent Mr. Wells in this petition.

       In addition, Mr. Harris will be supported by a team of attorneys at the Cooley law firm.

Cooley is a national and international law firm with numerous offices across the United States.

Cooley attorneys have handled the capital habeas cases for Lucas Douglas Lucas, whose death

sentence was reversed in California in 2004, In re Lucas, 94 P.3d 477 (Cal. 2004), Billy Daniel

Raulerson, Raulerson v. Warden, 928 F.3d 987 (11th Cir. 2019), and State of Alabama v. Woolf

Michael Bragg, Case No. CC-2008-004437.60 (Al. Cir. Ct. 2022). Cooley also regularly works

with the capital habeas groups at the Equal Justice Initiative (see https://eji.org/issues/death-

penalty) and the ABA Death Penalty Representation Project (see https://www.americanbar.org/

groups/committees/death_penalty_representation/), who alerted Cooley to Mr. Wells’ case.

       The Cooley team on this matter will include two partners and at least four other attorneys.3

Matthew Kutcher, a former federal prosecutor in the Northern District of Illinois, has been a federal


3In addition, Mr. Harris and the Cooley partners and associates serving as counsel to Mr. Wells
will regularly consult with other Cooley partners who have significant experience with capital
habeas appeals. Specifically, Kathleen Hartnett, who served as habeas counsel in the Raulerson
case, as counsel to the Federal Capital Habeas Project in challenging the Department of Justice’s
“Manner of Execution” rule issued in November 2020, and has filed amici curae briefs in Baze v.
Rees, 553 U.S. 35 (2007), which challenged Kentucky’s use of lethal injection, and Walker v. True,
399 F.3d 315 (4th Cir. 2005), a Virginia capital habeas petition. Similarly, Daniel Grooms and
John Hemann currently represent an Alabama defendant in a collateral challenge to his capital
conviction and sentence. In addition, prior to joining Cooley, Mr. Grooms was an Associate
Deputy Attorney General at the U.S. Department of Justice and served on the Attorney General’s
Review Committee on Capital Cases where he evaluated and provided recommendations to the
Attorney General and Deputy Attorney General for every federal, capital-eligible prosecution
brought by the Department’s 93 U.S. Attorney’s offices nationwide.

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litigator for over 22 years and has handled multiple criminal and civil cases in jurisdictions

throughout the United States. Shamis Beckley has handled complex litigation in federal courts at

both the trial and appellate level for the last 10 years. Mr. Harris, Mr. Kutcher, and Ms. Beckley

will be assisted by Cooley litigation attorneys Elizabeth Wright, Alessandra Rafalson, Alexandra

Cubaleski and Hanna Evensen, along with paralegal Elizabeth Rice. These new counsel will be

able to leverage the resources of Cooley to work through the large case file and ultimately prepare

Mr. Wells’ petition in a timely manner.

                                          CONCLUSION

       For the foregoing reasons, Mr. Wells respectfully requests that the Court grant the Motion

to Substitute Counsel.

                                                     Respectfully submitted,


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                             CERTIFICATE OF CONFERENCE

       On August 16, 2022, counsel for Amos Wells contacted counsel for the Director, Stephen

Hoffmann, regarding this Motion to Substitute Counsel. Mr. Hoffmann responded on August 16,

2022 that if one of the attorneys on the team to be substituted is qualified under 18 U.S.C. §

3599(c), and the motion contains assurances that no delays or extensions will be sought on the

basis of the substitution, then the State will not a take a position opposing the motion.


                                                     /s Matthew Kutcher




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 16, 2022, I electronically filed the foregoing document with

the Clerk of Court for the U.S. District Court, Northern District of Texas, using the electronic case

filing system of the Court. The electronic case-filing system sent a Notice of Electronic Filing to

the attorneys of record who consented in writing to accept this Notice as service of this document

by electronic means.



                                                     /s Matthew Kutcher




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